Case 2:25-cv-01963-MEF-MAH     Document 98-4    Filed 03/21/25   Page 1 of 4 PageID:
                                     301



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 Attorney for Petitioner

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,                        Case No. 2:25-cv-01963
                                         (MEF)(MAH)
        Petitioner,
                                         CERTIFICATION OF NOOR
  v.                                     ZAFAR IN SUPPORT OF
                                         APPLICATION FOR ADMISSION
  WILLIAM JOYCE ET AL.,                  PRO HAC VICE PURSUANT TO
                                         LOCAL CIVIL RULE 101.1
        Respondent.




       I, Noor Zafar, hereby certify the following:

       1.    I am an attorney at the American Civil Liberties Union Foundation

 (“ACLU”). I have been requested to represent Petitioner in this matter.
Case 2:25-cv-01963-MEF-MAH     Document 98-4    Filed 03/21/25   Page 2 of 4 PageID:
                                     302



       2.    I am a member in good standing of the New York State bar as of

 2018. A certificate of good standing issued by the New York State Appellate

 Division, Second Department, is attached herein.

    3. I am also admitted to practice before the following courts:



        Court                  Year of Admission           Attorney Rolls
                                                           Maintained By
        New York State         2019                        Supreme Court,
        Appellate Division,                                State of New York
        Second Department                                  Appellate Division,
                                                           Second Department
                                                           45 Monroe Place
                                                           Brooklyn, NY
                                                           11201
        U.S. Court of          2021                        Thurgood Marshall
        Appeals for the                                    United States
        Second Circuit                                     Courthouse
                                                           40 Foley Square
                                                           New York, New
                                                           York 10007
        U.S. Court of          2021                        The James R.
        Appeals for the                                    Browning
        Ninth Circuit                                      Courthouse
                                                           95 7th Street
                                                           San Francisco, CA
                                                           94103
        U.S. Court of          2024                        Byron White Court
        Appeals for the                                    House
        Tenth Circuit                                      1823 Stout Street
                                                           Denver, CO 80257
        U.S. Court of          2013                        Elbert P. Tuttle
        Appeals for the                                    Courthouse
        Eleventh Circuit                                   56 Forsyth Street,
                                                           N.W.
                                                           Atlanta, GA 30303
Case 2:25-cv-01963-MEF-MAH       Document 98-4      Filed 03/21/25    Page 3 of 4 PageID:
                                       303



        U.S. District Court      2019                          500 Pearl Street,
        for the Southern                                       New York, NY
        District of New                                        10007
        York


       4.      No professional disciplinary proceedings are pending against me in

 any jurisdiction and no professional discipline has previously been imposed on

 me in any jurisdiction.

       5.      In the event I am admitted pro hac vice, I agree to:

            a. Make payment to the New Jersey Lawyer’s Fund for Client

               Protection as provided by New Jersey Court Rule 1:28-2(a) for each

               year in which I represent Petitioner in this matter;

            b. Abide by the Rules of this Court, including any relevant disciplinary

               rules;

            c. Notify this Court immediately of any matters affecting my standing

               at the Bar of any other Court; and

            d. Have all pleadings, briefs, and other papers filed with the Court

               signed by an attorney of record authorized to practice in the United

               States District Court for the District of New Jersey.
Case 2:25-cv-01963-MEF-MAH      Document 98-4   Filed 03/21/25   Page 4 of 4 PageID:
                                      304



       6.     In view of the foregoing, I respectfully request that I be admitted

 pro hac vice.

 Pursuant to 28 U.S.C. § 1746, I affirm under penalty of perjury that the above

 statements are true and correct.

  Dated: March 21, 2025                         Respectfully Submitted,
                                                /s/Noor Zafar
                                                Noor Zafar
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                                                Union Foundation
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                                                New York, NY 10004
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